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                                      - This bill is not active in this session.



     A07614 Summary:

      BILL NO     A07614


      SAME AS     SAME AS



      SPONSOR     Benedetto


      COSPNSR     Cymbrowitz


      MLTSPNSR



      Amd §4404, Ed L


      Appoints an impartial hearing officer to issue an order of relief if a parent or person in parental relation of a
      student files a due process complaint notice seeking an impartial due process hearing.




                                                                                                 Hyman Decl. Ex. C- 1
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     A07614 Memo:




                                                                                               Hyman Decl. Ex. C- 2
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                                                    NEW YORK STATE ASSEMBLY
                                             MEMORANDUM IN SUPPORT OF LEGISLATION
                                   submitted in accordance with Assembly Rule III, Sec 1(f)




                                                                                               Hyman Decl. Ex. C- 3
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      BILL NUMBER: A7614

      SPONSOR: Benedetto



      TITLE OF BILL:

      An act to amend the education law, in relation to appointing an impar-
      tial hearing officer during certain appeal procedures for children with
      handicapping conditions



      PURPOSE OR GENERAL IDEA OF BILL:

      The purpose of this bill is to address due process complaints that have
      not been resolved within a timely manner to ensure that students with
      disabilities receive their right to a free appropriate public education.



      SUMMARY OF PROVISIONS:

      Section one provides that if a parent of a student files a due process
      complaint notice seeking an impartial due process hearing and an impar-
      tial hearing officer (IHO) is not appointed within 196 days after filing
      such due process complaint notice with the local school district, in
      accordance with regulations promulgated by the commissioner, an IHO may
      then be immediately appointed to issue an order based upon a proposed
      order of relief submitted by the parent identifying appropriate and
      individualized programs and services for the student. This section also
      provides reported procedures regarding the number of complaints that
      seek this relief, the relief sought, and the resolution of such
      complaints.

      Section two sets forth the effective date.



      JUSTIFICATION:

      The proposed accelerated process provides relief to those parents who
      have waited 195 days or longer for assignment of an IHO. Case law from
      other jurisdictions holds that a procedural delay of four months or
      longer for a due process hearing constitutes a denial of a free appro-
      priate public education (FAPE) as required by the IDEA. This accelerated
      process is designed to provide quick relief, similar to the expedited
      hearing process to which a student is entitled regarding certain disci-
      plinary actions (8 NYCRR 201.11). This accelerated process will relieve
      an IHO from determining whether a school district offered FAPE; she or
      he will only consider whether to award the parent her or his requested
      relief. In this respect, the IHO will consider the appropriateness of
      the programs and services sought by a parent and award such relief if
      appropriate and individualized to the child.

      Upon enactment of this legislation, NYSED will promulgate regulations
      detailing the condensed time frame by which an order will be rendered by
      an IHO for parents who choose to seek an accelerated order of relief.
      This is the same process the Legislature has followed for other due
      process procedural regulations. For example, Education Law § 4404(d)
      requires the Commissioner of Education to "promulgate regulations estab-
      lishing procedures and timelines for expedited hearings." A similar
      process would occur for accelerated orders of relief. NYSED would draft
      and submit proposed regulations for public comment and hearings; this
      procedure would ensure that NYSED receives public and stakeholder input
      regarding the scope and details of the proposed regulations.



      PRIOR LEGISLATIVE HISTORY:

      New bill.



      FISCAL IMPLICATIONS:
                                                                                               Hyman Decl. Ex. C- 4
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      None noted.



      EFFECTIVE DATE:
      This act shall take effect on the ninetieth day ater it shall have
      become law.




                                                                                                Hyman Decl. Ex. C- 5
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     A07614 Text:




                                                    STATE OF NEW YORK
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                                                   7614

                                        2021-2022 Regular Sessions



                                                              IN ASSEMBLY
                                               May 19, 2021
                                                ___________

                  Introduced by M. of A. BENEDETTO, CYMBROWITZ -- read once and referred
                    to the Committee on Education

                  AN ACT to amend the education law, in relation to appointing   an   impar-
                    tial hearing officer during    certain appeal procedures for children
                    with handicapping conditions

                   The People of the State of New York, represented in Senate and     Assem-
                  bly, do enact as follows:

            1       Section 1. Section 4404 of the education law is amended by adding a
            2     new subdivision 1-a to read as follows:
            3       1-a. If the parent or person in parental relation of a student files a
            4     due process complaint notice seeking an impartial due process hearing
            5     with respect to the evaluation, educational placement, provision of a
            6     free appropriate public education to the student or in accordance with
            7     section thirty-six hundred two-c of this chapter and an impartial hear-
            8     ing officer is not appointed within one hundred ninety-six days after
           9      filing such due process complaint notice with the local school district,
          10      in accordance with regulations promulgated pursuant to this section by
          11      the commissioner, an impartial hearing officer may then be immediately
          12      appointed to issue an order based upon a proposed order of relief
          13      submitted by the parent or person in parental relation of the student
          14      identifying appropriate and individualized programs and services for the
          15      student. School districts subject       to this subdivision shall annually
          16      report, on a form prescribed by the     commissioner, on the number of
          17      complaints that seek this relief, the relief sought, and the resolution
          18      of such complaints to the governor, the commissioner, the temporary
          19      president of the senate, the speaker of the assembly, the chair of the
          20      senate education committee, the chair of the senate city of New York
          21      education committee and the chair of the assembly education committee.
          22        § 2. This act shall take effect on the ninetieth day after it shall
          23      have become a law. Effective immediately, the addition, amendment and/or
          24      repeal of any rule or regulation necessary for the implementation of
          25      this act on its effective date are authorized to be made and completed
          26      by the commissioner of education on or before such effective date.

                   EXPLANATION--Matter in italics (underscored) is new; matter in brackets
                                        [ ] is old law to be omitted.
                                                                              LBD11358-01-1




                                                                                                  Hyman Decl. Ex. C- 6
https://nyassembly.gov/leg/?default_fld=&leg_video=&bn=A07614&term=&Summary=Y&Memo=Y&Text=Y                              6/6
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                         STATE OF NEW YORK
     ________________________________________________________________________

                                       6682

                            2021-2022 Regular Sessions

                                IN SENATE
                                   May 11, 2021
                                    ___________

     Introduced by Sen. LIU -- read twice and ordered printed, and when
       printed to be committed to the Committee on New York City Education

     AN ACT to amend the education law, in relation to appointing an impar-
       tial hearing officer during certain appeal procedures for children
       with handicapping conditions

       The People of the State of New York, represented in Senate and      Assem-
     bly, do enact as follows:

 1     Section 1. Section 4404 of the education law is amended by adding a
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 5   with respect to the evaluation, educational placement, provision of a
 6   free appropriate public education to the student or in accordance with
 7   section thirty-six hundred two-c of this chapter and an impartial hear-
 8   ing officer is not appointed within one hundred ninety-six days after
 9   filing such due process complaint notice with the local school district,
10   in accordance with regulations promulgated pursuant to this section by
11   the commissioner, an impartial hearing officer may then be immediately
12   appointed to issue an order based upon a proposed order of relief
13   submitted by the parent or person in parental relation of the student
14   identifying appropriate and individualized programs and services for the
15   student. School districts subject to this subdivision shall annually
16   report, on a form prescribed by the commissioner, on the number of
17   complaints that seek this relief, the relief sought, and the resolution
18   of such complaints to the governor, the commissioner, the temporary
19   president of the senate, the speaker of the assembly, the chair of the
20   senate education committee, the chair of the senate city of New York
21   education committee and the chair of the assembly education committee.
22     § 2. This act shall take effect on the ninetieth day after it shall
23   have become a law. Effective immediately, the addition, amendment and/or
24   repeal of any rule or regulation necessary for the implementation of
25   this act on its effective date are authorized to be made and completed
26   by the commissioner of education on or before such effective date.

     EXPLANATION--Matter in italics (underscored) is new; matter in brackets
                          [ ] is old law to be omitted.
                                                               LBD11358-01-1




                                                           Hyman Decl. Ex. C- 7
